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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiff,


                        vs.                               Case No. 07-10142-16-JTM


 SYCARR GREENLEY,
                        Defendant.




                                MEMORANDUM AND ORDER

       Presently before the court is defendant Sycarr Greenley’s motion for reconsideration of

detention order (Dkt. No. 294). This court conducted a hearing on the matter on March 5, 2008.

The Government appeared by and through Chris Oakley, Special Assistant United States

Attorney, and the defendant appeared in person and through counsel, Mark Schoenhofer.

         The court considered proffers from the government and the defendant, the report from

pretrial services, arguments from both sides, as well as the defendant’s extensive criminal history,

his unstable employment history, and his history of failure to comply with conditions of

supervision. Based upon all of those factors, the court denies Greenley’s motion.

       IT IS ACCORDINGLY ORDERED this 5 th day of March, 2008 that defendant Greenley’s

motion for reconsideration of detention order (Dkt. No. 294) is denied, and Greenley is to remain

in custody.


                                                     s/ J. Thomas Marten
                                                     J. THOMAS MARTEN, JUDGE
